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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROBYN ABRAHAM,

                           Plaintiff,
                                                      17 Civ. 5429 (KPF)
                    -v.-
                                                            ORDER
ABBY LEIGH, et al.,

                           Defendants.

KATHERINE POLK FAILLA, District Judge:

      The Court is in receipt of Plaintiff’s motion to stay the case pending

appeal (Dkt. #587), and Ms. Kerwick’s November 6, 2020 letter (Dkt. #588).

Plaintiff’s appeal does not divest the Court of jurisdiction to consider

Defendant’s pending motion for contempt or Defendant’s counterclaims, and

therefore Plaintiff’s motion for a stay is DENIED.

      However, on this record, the Court cannot tell if it would be appropriate

for Plaintiff to seek a stay of her obligation to comply with the Court’s

September 14, 2020 Opinion and Order (see Dkt. #539), pending the outcome

of her appeal of that Opinion and Order (see Dkt. #546). Should Plaintiff seek

to raise this issue with the Court, the Court will entertain a letter from Plaintiff

on this matter. In the interim, Plaintiff’s opposition to Defendant’s motion for

contempt is still due on or by November 16, 2020. (See Dkt. #586).

      Finally, the Court reminds Plaintiff that she must comply with the

Court’s October 21, 2020 Order (Dkt. #583), which Order stated that “Plaintiff

shall not file any submission in this case regarding Ms. Kerwick, Ms. Wiss,

Wiss & Partners, and/or Plaintiff’s relationship with them, absent leave of
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Court.” (Id. (emphases added)). Plaintiff’s filing at docket entry 587 is in clear

violation of this Order. Plaintiff is hereby warned that future noncompliance

with the October 21, 2020 Order will require the Court to consider sanctions

“including civil and criminal contempt, monetary sanctions, and default in the

underlying action.” (Id.).

      Therefore, the Clerk of Court is directed to seal docket entry 587, to be

viewable by the Court and parties only.

      SO ORDERED.

Dated:       November 9, 2020
             New York, New York               __________________________________
                                                   KATHERINE POLK FAILLA
                                                  United States District Judge




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